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                         IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

MICHAEL COREY JENKINS, et al.                                                     PLAINTIFFS

v.                                                           CAUSE NO. 3:23cv374‐DPJ‐FKB

RANKIN COUNTY, MISSISSIPPI, et al.                                              DEFENDANTS


                RENEWED MOTION FOR JUDGMENT ON THE PLEADINGS
                   PREMISED, IN PART, ON QUALIFIED IMMUNITY


       NOW COME Defendants, Rankin County, Mississippi and Sheriff Bryan Bailey, in his

individual and official capacities, by and through counsel, and move this Court for judgment

on the pleadings pursuant to FED. R. CIV. P. 12(c) by stating as follows:

       1.     In their [28] Amended Complaint, Plaintiffs allege federal § 1983 claims

against Rankin County and Sheriff Bailey, in his individual and official capacities, as well as

state law MTCA claims against Rankin County.

       2.     Sheriff Bailey, in his individual capacity, is entitled to qualified immunity from

all federal § 1983 claims alleged against him.

       3.     The official capacity claims against Sheriff Bailey should be dismissed as

redundant and/or duplicative of the claims against Rankin County.

       4.     Plaintiffs fail to allege a facially plausible Monell claim against Rankin County.

       5.     Any and all state law claim against Rankin County is barred by MISS. CODE ANN.

§ 11-46-9(1)(d) & (g).

       6.     Based on the foregoing and all legal precedent and analysis in their

accompanying Memorandum of authorities, Rankin County, MS and Sheriff Bryan Bailey, in
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his individual and official capacities, respectfully request that all claims against them be

dismissed.

       7.      In support of their instant Motion, Rankin County and Sheriff Bailey submit

and rely upon the following exhibits:

               A.     Exhibit 1 – Cameron Affidavits; and

               B.     Exhibit 2 – Monica Lee Deposition Transcript – Excepts.

       WHEREFORE, PREMISES CONSIDERED, Rankin County, MS and Sheriff Bryan

Bailey, in his individual and official capacities, pray that this Court grant their instant Motion

in its entirety and dismiss any and all federal and state law claims against them.

       RESPECTFULLY SUBMITTED, this 13th day of December, 2023.

                                             RANKIN COUNTY, MISSISSIPPI & SHERIFF
                                             BRYAN BAILEY, IN HIS INDIVIDUAL AND
                                             OFFICIAL CAPACITIES ‐ DEFENDANTS

                                             BY:     /s/ Jason E. Dare
                                                    JASON E. DARE

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